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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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11
12    EVER WIN INTERNATIONAL                    Case No. CV13-CV-02601JVS(RZ)
      CORPORATION, a California
13    corporation,                            FINAL CONSENT JUDGMENT AND
                                              PERMANENT INJUNCTION
14                 Plaintiff,
15          v.
16    E.S.I. CASES & ACCESSORIES,
      INC., a New York corporation; and
17    DOES 1 thru 10, inclusive,
18                        Defendants.
19
20
21          Plaintiff Ever Win International Corporation (“Ever Win”) and E.S.I. Cases
22    & Accessories, Inc. (“E.S.I.”) hereby stipulate and jointly move for entry of final
23    judgment as follows:
24          WHEREAS, Ever Win and E.S.I. entered into a Confidential Settlement
25    Agreement (“Settlement Agreement”) that disposed of all the claims in this Action;
26    and
27          WHEREAS, pursuant to the Settlement Agreement, Ever Win and E.S.I.
28    have agreed to the entry of a Final Consent Judgment and Permanent Injunction that
                                                             FINAL CONSENT JUDGMENT AND
                                                                    PERMANENT INJUNCTION
                                                                             CV13-02601JVS
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  1   will provide as follows:
  2          1. That this Court has subject matter jurisdiction over this action as well as
  3   personal jurisdiction over Ever Win and E.S.I.
  4          2. That venue is proper in this judicial district.
  5          3. That Ever Win is the owner of U.S. Design Patent No. D624,501S “ (the
  6   ‘501patent”).
  7          4. That Ever Win is the owner of U.S. Design Patent No. D626,072S “(the
  8   ‘072 patent).
  9          5. That the ‘501 and ‘072 patents are hereinafter collectively referred to as
10    “the patents-in-suit”. That the patents-in-suit are each valid and duly issued by the
11    US Patent and Trademark Office.
12           7. That E.S.I. has used, manufactured, sold, offered for sale, and/or imported
13    into the U.S. versions of E.S.I.’s “Duracell Dual Mini-Charger” (E.S.I.’s Model No.
14    SKU 6704045) and “Duracell Dual Mini USB Car Charger, Model No. DU 6117”
15    (collectively “Accused Products”), as depicted in Exhibits to the Complaint for
16    Patent Infringement .
17           8. That E.S.I. has used, manufactured, sold, offered for sale, and/or imported
18    in the U.S. versions of the Accused Products.
19           9. Pursuant to the Patent Act, 35 U.S.C. § 283, E.S.I., together with their
20    officers, members, directors, agents, servants, employee and affiliates thereof,
21    representative and attorneys, and all persons acting or attempting to act in concert
22    or participation with them, are permanently enjoined and restrained from making,
23    using, offering to sell, selling, or distributing within the United States, its territories
24    and possession, or by importing into the United States, its territories and
25    possession, the Accused Products, or any other goods that are no more than
26    colorable variations thereof and that infringe the patents-in-suit, during the life of
27    the patents-in-suit.
28
                                                                  FINAL CONSENT JUDGMENT AND
                                                 -2-
                                                                         PERMANENT INJUNCTION
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  1         10. The Final Judgment shall be entered in favor of Ever Win against E.S.I.
  2   on Ever Win’s causes of action for infringement of the patents-in-suit.
  3         11. That the claims and counterclaims asserted in this litigation, be dismissed
  4   with prejudice.
  5         12. That no other or further relief be granted to Ever Win or E.S.I. with
  6   respect to each other.
  7         13. That Ever Win and E.S.I. affirmatively waive any and all rights to appeal
  8   this Final Consent Judgment and Permanent Injunction.
  9         14. That each party will bear its own costs and attorneys’ fees for this action.
10          15. That this Court retain jurisdiction to monitor and enforce compliance
11    with the Permanent Injunction.
12
13          IT IS SO STIPULATED AND AGREED.
14
15    FRISENDA, QUINTON &                    E.S.I. CASES & ACCESSORIES, INC.
      NICHOLSON
16
17
18    By______________________               By_______________________
19      Frank Frisenda                         Elliot Azoulay
        Attorneys for Plaintiff                Chief Executive Officer
20      Ever Win International Corp.           E.S.I. Cases & Accessories, Inc.
21
22
            IT IS SO ORDERED AND DECREED, AND FINAL JUDGMENT IS
23
      HEREBY ENTERED.
24
25
26    DATED: September 16, 2014              ______________________________
27                                           Hon. James V. Selna

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                                                             FINAL CONSENT JUDGMENT AND
                                              -3-
                                                                    PERMANENT INJUNCTION
